                    IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

IN RE:                                       |       CHAPTER 13
                                             |
CHERYL V. JOHNSON                            |
a/k/a Cheryl Johnson                         |
a/k/a Cheryl Vonhaelst Johnson               |
                                             |
                                             |       CASE NO. 4-23-01144
                                             |       ORIGINAL PLAN
                                             |x       AMENDED PLAN (Indicate 1ST, 2ND, 3RD,
                                             |       etc)
                                             | ___   Number of Motions to Avoid Liens
                                             | ___   Number of Motions to Value Collateral

                                      CHAPTER 13 PLAN

                                            NOTICES
Debtors must check one box on each line to state whether or not the plan includes each of the
following items. If an item is checked as “Not Included” or if both boxes are checked or if
neither box is checked, the provision will be ineffective if set out later in the Plan.

 1   The plan contains nonstandard provisions, set out in     *       Included   G       Not
     §9, which are not included in the standard plan as                                  Included
     approved by the U.S. Bankruptcy Court for the
     Middle District of Pennsylvania.
 2   The plan contains a limit on the amount of a secured     G       Included    *     Not
     claim, set out in §2.E, which may result in a partial                              Included
     payment or no payment at all to the secured creditor.
 3   The plan avoids a judicial lien or nonpossessory,        G       Included   *      Not
     nonpurchase-money security interest, set out in §2.G                               Included


                            YOUR RIGHTS WILL BE AFFECTED
READ THIS PLAN CAREFULLY. If you oppose any provision of this plan, you must file a
timely written objection. This plan may be confirmed and become binding on you without
further notice or hearing unless a written objection is filed before the deadline stated on the
Notice issued in connection with the filing of the Plan.

1.       PLAN FUNDING AND LENGTH OF PLAN.




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       A.      Plan Payments From Future Income

               1. To date, the Debtor paid $0.00 (enter $0 if no payments have been made to the
Trustee to date). Debtor shall pay to the Trustee for the remaining term of the plan the following
payments. If applicable, in addition to monthly plan payments, Debtor shall make conduit
payments through the Trustee as set forth below. The total base plan is $15,240.00, plus other
payments and property stated in §1B below:

    Start            End              Plan           Estimated         Total            Total
   mm/yyyy          mm/yyyy          Payment          Conduit         Monthly         Payment
                                                     Payment          Payment         Over Plan
                                                                                        Tier
 06/2023          05/2028          $254.00         NA               $254.00          $15,240.00


                                                                           Total $15,240.00
                                                                       Payments:



       2. If the plan provides for conduit mortgage payments, and the mortgagee notifies the
Trustee that a different payment is due, the Trustee shall notify te Debtor and any attorney for the
Debtor, in writing, to adjust the conduit payments and the plan funding. Debtor must pay all
post-petition mortgage payments that come due before the initiation of conduit mortgage
payments.

         3. Debtor shall ensure that any wage attachments are adjusted when necessary to conform
to the terms of the plan.

       4. CHECK ONE:          ( X ) Debtor is at or under median income. If this line is checked,
                              the rest of §1.A.4 need not be completed or reproduced.

                              ( ) Debtor is over median income. Debtor estimates that a
                              minimum of $ 0.00 must be paid to allowed unsecured creditors
                              in order to comply with the Means Test.

B. Additional Plan Funding From Liquidation of Assets/Other

       1.      The Debtor estimates that the liquidation value of this estate is $0.00. (Liquidation
               value is calculated as the value of all non-exempt assets after the deduction of
               valid liens and encumbrances and before the deduction of Trustee
               fees and priority claims.)

       Check one of the following two lines.




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           X   No assets will be liquidated. If this line is checked, the rest of §1.B need not be
               completed or reproduced.

               Certain assets will be liquidated as follows:

      2.       In addition to the above specified plan payments, Debtor shall dedicate to the plan
               proceeds in the estimated amount of 0.00 from the sale of property known and
               designated as            . All sales shall be completed by             . If the
               property does not sell by the date specified, then the disposition of the property
               shall be as follows:


      3.       Other payments from any source(s) (describe specifically) shall be paid to the
               Trustee as follows: _______________________________________________.

2.    SECURED CLAIMS.

      A.       Pre-Confirmation Distributions. Check one.

       X       None. If “None” is checked, the rest of §2.A need not be completed or
               reproduced.

      ____     Adequate protection and conduit payments in the following amounts will be paid
               by the Debtor to the Trustee. The Trustee will disburse these payments for which
               a proof of claim has been filed as soon as practicable after receipt of said
               payments from the Debtor.

     Name of Creditor             Last Four Digits of Account            Estimated Monthly
                                           Number                             Payment



      1.       The Trustee will not make a partial payment. If the Debtor makes a partial plan
               payment, or if it is not paid on time and the Trustee is unable to pay timely a
               payment due on a claim in this section, the Debtor’s cure of this default must
               include any applicable late charges.

      2.       If a mortgagee files a notice pursuant to Fed. R. Bankr.P.3002.1(b), the change in
               the conduit payment to the Trustee will not require modification of this Plan.

      B.       Mortgages (Including Claims Secured by Debtor’s Principal Residence) and
               Other Direct Payments by Debtor. Check One.

               None. If “None” is checked, the rest of §2.B need not be completed or
               reproduced.




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        X       Payments will be made by the Debtor directly to the creditor according to the
                original contract terms, and without modification of those terms unless otherwise
                agreed to by the contracting parties. All liens survive the plan if not avoided or
                paid in full under the plan.



      Name of Creditor                 Description of Collateral      Last Four Digits of Account
                                                                               Number
 M& T Bank                         280 Long Run Rd.                   4998
 (First Mortgage)                  Mill Halle, PA 17751


 M& T Bank                         280 Long Run Rd.                   2374
 (Second Mortgage)                 Mill Halle, PA 17751


 Chrylser Capital                  2019 Chevy 500
 Bank of America                   2019 Hyundai Kona

       C.       Arrears (Including, but not limited to, claims secured by Debtor’s principal
                residence). Check one.

                None. If “None” is checked, the rest of §2.C need not be completed or
                reproduced.

            X   The Trustee shall distribute to each creditor set forth below the amount of
                arrearages in the allowed claim. If post-petition arrears are not itemized in an
                allowed claim, they shall be paid in the amount stated below. Unless otherwise
                ordered, if relief from the automatic stay is granted as to any collateral listed in
                this section, all payments to the creditor as to that collateral shall cease, and the
                claim will no longer be provided for under §1322(b)(5) of the Bankruptcy Code.

 Name of              Description of       Estimated Pre-      Estimated Post-      Estimated
 Creditor             Collateral           Petition            Petition             Total to be paid
                                           Arrears to be       Arrears to be        in plan
                                           Cured               Cured
 M& T Bank            280 Long Run         $7,163.96           NA                   $7,163.96
 (Second              Rd.
 Mortgage)            Mill Halle, PA
                      17751




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 Bank of              2019 Hyundai        $312.33             NA                   $312.33
 America              Kona
 Chrylser Capital     2019 Chevy 500      $1,044.02           NA                   $1,044.02


        D. Other secured claims (conduit payments and claims for which a §506 valuation
is not applicable, etc.)

         X      None. If “None” is checked, the rest of §2.D need not be completed or
                reproduced.


                The claims below are secured claims for which a § 506 valuation is not
                applicable, and can include: (1) claims that were either (a) incurred within 910
                days of the petition date and secured by a purchase money security interest in a
                motor vehicle acquired for the personal use of the Debtor, or (b) incurred within 1
                year of the petition date and secured by a purchase money security interest in any
                other thing of value; (2) conduit payments; or (3) secured claims not provided
                elsewhere.

       1.       The allowed secured claims listed below shall be paid in full and their liens
                retained until the earlier of the payment of the underlying debt determined under
                nonbankruptcy law or discharge under §1328 of the Code.

       2.       In addition to payment of the allowed secured claim, present value interest
                pursuant to 11 U.S.C. §1325(a)(5)(B)(ii) will be paid at the rate and in the amount
                listed below, unless an objection is raised. If an objection is raised, then the court
                will determine the present value interest rate and amount at the confirmation
                hearing.

       3.       Unless otherwise ordered, if the claimant notifies the Trustee that the claim was
                paid, payments on the claim shall cease.

    Name of            Description of        Principal          Interest Rate      Total to be Paid
    Creditor            Collateral           Balance of                                in Plan
                                               Claim




       E.       Secured claims for which §506 valuation is applicable. Check one.

            X   None. If “None” is checked, the rest of §2.E need not be completed or




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            reproduced.


            Claims listed in the subsection are debts secured by property not described in
            §2.D of this plan. These claims will be paid in the plan according to modified
            terms, and liens retained until the earlier of the payment of the underlying debt
            determined under nonbankruptcy law or discharge under §1328 of the Code. The
            excess of the creditor’s claim will be treated as an unsecured claim. Any claim
            listed as “$0.00" or “NO VALUE” in the “Modified Principal Balance” column
            below will be treated as an unsecured claim. The liens will be avoided or limited
            through the plan or Debtor will file an adversary action or other action (select
            method in last column). To the extent not already determined, the amount, extent
            or validity of the allowed secured claim for each claim listed below will be
            determined by the court at the confirmation hearing. Unless otherwise ordered, if
            the claimant notifies the Trustee tat the claim was paid, payments on the claim
            shall cease.



 Name of       Description     Value of        Interest         Total           Plan,
 Creditor      of              Collateral      Rate             Payment         Adversary
               Collateral      (Modified                                        or Other
                               Principal)                                       Action



      F. Surrender of Collateral. Check one.

        X   None. If “None” is checked, the rest of §2.F need not be completed or
            reproduced.

            The Debtor elects to surrender to each creditor listed below the collateral that
            secures the creditor’s claim. The Debtor requests that upon confirmation of this
            plan or upon approval of any modified plan the stay under 11 U.S.C. §362(a) be
            terminated as to the collateral only and that the stay under §1301 be terminated in
            all respects. Any allowed unsecured claim resulting from the disposition of the
            collateral will be treated in Part 4 below.

            Name of Creditor                          Description of Collateral to be
                                                              Surrendered




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       G.       Lien Avoidance. Do not use for mortgages or for statutory liens, such as tax
                liens. Check one.

            X   None. If “None” is checked, the rest of §2.G need not be completed or
                reproduced.

       _        The Debtor moves to avoid the following judicial and/or nonpossessory, non-
                purchase money liens of the following creditors pursuant to §522(f) (this §should
                not be used for statutory or consensual liens such as mortgages).

 Name of Lien Holder
 Lien Description
 For judicial lien, include
 court
 and docket number
 Description of the liened
 property
 Liened Asset Value
 Sum of Senior Liens
 Exemption Claimed
 Amount of Lien
 Amount Avoided

3.     PRIORITY CLAIMS.

       A.       Administrative Claims

                1.     Trustee’s Fees. Percentage fees payable to the Trustee will be paid at the
                       rate fixed by the United States Trustee.

                2.     Attorney’s Fees. Complete only one of the following options:

                       a.      In addition to the retainer of $1,000.00 already paid by the Debtor,
                               the amount of $3,500.00 in the plan. This represents the unpaid
                               balance of the presumptively reasonable fee specified in L.B.R.
                               2016-2( c); or


                       b.      $_______ per hour, with the hourly rate to be adjusted in
                               accordance with the terms of the written fee agreement between the




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                           Debtor and the attorney. Payment of such lodestar compensation
                           shall require a separate fee application with the compensation
                           approved by the Court pursuant to L.B.R. 2016-2(b).

            3.     Other. Other administrative claims not included in §§ 3.A.1 or 3.A.2
                   above. Check one of the following two lines.

                     X     None. If “None” is checked, the rest of § 3.A.3 need not be
                           completed or reproduced.

                   ____    The following administrative claims will be paid in full.

           Name of Creditor                             Estimated Total Payment




      B.    Priority Claims (including, certain Domestic Support Obligations)

            Allowed unsecured claims entitled to priority under § 1322(a) will be paid in full
            unless modified under §9.

           Name of Creditor                             Estimated Total Payment




      C.    Domestic Support Obligations assigned to or owed to a governmental unit
            under 11 U.S.C. § (a)(1)(B). Check one of the following two lines.

             X     None. If “None” is checked, the rest of § 3.C need not be completed or
                   reproduced.

            _      The allowed priority claims listed below are based on a domestic support
                   obligation that has been assigned to or is owed to a governmental unit and
                   will be paid less than the full amount of the claim. This plan provision
                   requires that payments in § 1.A. be for a term of 60 months (see 11 U.S.C.
                   § 1322 (a)(4)).

           Name of Creditor                              Estimated Total Payment




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4.       UNSECURED CLAIMS

         A.       Claims of Unsecured Nonpriority Creditors Specially Classified. Check one
                  of the following two lines.

                  _ X _ None. If “None” is checked, the rest of § 4.A need not be completed or
                        reproduced.

                  ____   To the extent that funds are available, the allowed amount of the following
                         unsecured claims, such as co-signed unsecured debts, will be paid before
                         other, unclassified, unsecured claims. The claim shall be paid interest at
                         the rate stated below. If no rate is stated, the interest rate set forth in the
                         proof of claim shall apply.

       Name of            Reason for          Estimated          Interest Rate         Estimated
       Creditor             Special           Amount of                              Total Payment
                         Classification        Claim



         B.       Remaining allowed unsecured claims will receive a pro-rata distribution of
                  funds remaining after payment of other classes.

5.       EXECUTORY CONTRACTS AND UNEXPIRED LEASES. Check one of the
         following two lines.

          X       None. If “None” is checked, the rest of § 5 need not be completed or reproduced.

                  The following contracts and leases are assumed (and arrears in the allowed claim
                  to be cured in the plan) or rejected:

     Name of       Description     Monthly       Interest     Estimated       Total       Assume or
      Other        of Contract     Payment         Rate        Arrears         Plan        Reject
      Party         or Lease                                                 Payment




6.       VESTING OF PROPERTY OF THE ESTATE.




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        Property of the estate will vest in the Debtor upon

        Check the applicable line:
               plan confirmation.
        ___    entry of discharge.
         X     closing of case.

7.      DISCHARGE: (Check one)

        (X)     The debtor will seek a discharge pursuant to § 1328(a).
        ( )     The debtor is not eligible for a discharge because the debtor has previously
                received a discharge described in § 1328(f).

8.      ORDER OF DISTRIBUTION:

If a pre-petition creditor files a secured, priority or specially classified claim after the bar date,
the Trustee will treat the claim as allowed, subject to an objection by the Debtor.

Payments from the plan will be made by the Trustee in the following order:
Level 1:        Adequate Protection Payments
Level 2:        Debtor’s Attorney Fees
Level 3:       Domestic Support Obligations
Level 4:        Secured Claims, Pro Rata
Level 5:      Priority Claims, pro rata
Level 6:     Specially classified unsecured claims
Level 7:     Timely filed general unsecured claims
Level 8:      Untimely filed general unsecured claims to which Debtor has not objected

If the above Levels are filled in, the rest of § 8 need not be completed or reproduced. If the
above Levels are not filled-in, then the order of distribution of plan payments will be determined
by the Trustee using the following as a guide:

Level 1:        Adequate protection payments.
Level 2:        Debtor’s attorney’s fees.
Level 3:        Domestic Support Obligations.
Level 4:        Priority claims, pro rata.
Level 5:        Secured claims, pro rata.
Level 6:        Specially classified unsecured claims.
Level 7:        Timely filed general unsecured claims.
Level 8:        Untimely filed general unsecured claims to which the Debtor has not objected.


9. NONSTANDARD PLAN PROVISIONS
Include the additional provisions below or on an attachment. Any nonstandard provision
placed elsewhere in the plan is void. (NOTE: The plan and any attachment must be filed as




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one document, not as a plan and exhibit.)




The following is a summary of the creditors and amounts to be paid by the Trustee
pursuant to this Plan:

Chapter 13 Trustee                            $    1,368.00(est.)
Tullio DeLuca, Esq.,                          $     3,500.00
M&T Bank                                      $    7,163.96 (arrears)
Bank of America                               $       312.33 (arrears)
Chrysler Capital                              $     1,044.02 (arrears)
Unsecured Creditors - pro-rata basis          $     1,851.69
Total:                                        $   15,240.00
The Chapter 13 Trustee payment shall be made to the following address:

                       JACK N. ZAHAROPOULOS
                       CHAPTER 13 TRUSTEE
                       PO BOX 6008
                       MEMPHIS, TN 38101-6008

Dated: June 15, 2023
                                              /s/Cheryl V. Johnson
                                              Debtor

                                              /s/Tullio DeLuca
                                              Attorney for Debtor

By filing this document, the debtor, if not represented by an attorney, or the Attorney for Debtor
also certifies that this plan contains no nonstandard provisions other than those set out in §9.




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